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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA

                                        CRIMINAL MINUTES - GENERAL
                                                                                                           Page 1 of 2
Case No.      CR 14-436-DMG                                                                Date       April 29, 2020

Present: The Honorable            DOLLY M. GEE, UNITED STATES DISTRICT JUDGE
Interpreter         N/A
                   Kane Tien                          Not Reported                                   Not Present
                   Deputy Clerk                       Court Reporter                         Assistant U.S. Attorney

U.S.A. v. Defendant(s):                     Present    Cust.   Bond    Attorneys for Defendant(s):      Present    Appt.   Ret.
Yair Shoshani                                Not                       Victor Sherman                    Not                

   Proceedings: [IN CHAMBERS]     ORDER DENYING DEFENDANT’S EX PARTE
                APPLICATION FOR EARLY TERMINATION OF SUPERVISED RELEASE [211]

           On April 24, 2020, Defendant Yair Shoshani filed an ex parte application for early termination
   of his supervised release. [Doc. # 211.] On April 25, 2020, the Government filed its opposition. [Doc.
   # 212.] The Court has reviewed and considered the parties’ arguments for and against the application
   and now renders the following decision.

              I.         PROCEDURAL HISTORY

           Defendant was charged with conspiracy to commit bank fraud (18 U.S.C. § 1349), aggravated
   identity theft (18 U.S.C. § 1028A), and conspiracy to launder money (18 U.S.C. § 1956(h)). [Doc.
   # 19.] A first superseding information subsequently charged Defendant with conspiracy to commit bank
   fraud (18 U.S.C. § 371) [Doc. # 150]. After the Government recharged Defendant, and Defendant
   agreed to pay full restitution [Doc. # 149], Defendant received a sentence of the statutory maximum of
   60 months prison, followed by three years of supervised release. [Doc. # 178.]

              II.        DISCUSSION

           After considering certain of the factors set forth in 18 U.S.C. § 3553(a), the Court may
   “terminate a term of supervised release and discharge the defendant released at any time after the
   expiration of one year of supervised release, . . . if it is satisfied that such action is warranted by the
   conduct of the defendant released and the interest of justice . . . .” 18 U.S.C. § 3583(e)(1).

           Having served 18 months, or half of his term, of supervised release, Defendant seeks early
   termination on the grounds that he has maintained stable employment, his employment opportunities would
   be enhanced if he were able to travel internationally, he attends religious services and actively volunteers
   within his community, and he wishes to assist in the care of his sister and mother in Israel. [Doc. # 211.]

           First, Defendant’s employment status is not sufficient grounds warranting early termination of
   supervised release. Gainful employment is expected of all able-bodied individuals on supervised
   release. Nor does the theoretical prospect of obtaining additional employment contacts abroad warrant

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early termination.1 Second, Defendant’s family ties in Israel and specifically, the medical needs of
Defendant’s mother and sister, were known to Judge King at the time of sentencing in 2016. [See Doc.
# 163 (PSR) at ¶¶ 70-72.] Nothing presented by Defendant in the instant application alters the
appropriateness of the sentence imposed. Defendant also presents letters of support from members of
his community relating to his participation in religious studies and volunteer work at his synagogue.
While his volunteer work is commendable, Defendant presented similar letters in the past, with rabbis
referring to his “honesty and integrity” [see Doc. # 15 at 31, 33, 35]. He apparently participated in
religious services even while he committed the crime for which he was convicted. Thus, there is no new
information that warrants the early termination of supervised release.

       The Court has considered the factors set out in section 3553, including inter alia, the nature and
circumstances of the offense and the history and characteristics of Defendant; the need for the sentence
imposed to afford adequate deterrence to criminal conduct; the need for the sentence imposed to protect
the public from further crimes of Defendant; and the need to provide restitution to any victims of the
offense. See 18 U.S.C. §§ 3553(a); 3583(e). They support Defendant’s current sentence. As the
Government points out, Defendant received a far more lenient sentence than originally contemplated due
to Defendant’s willingness to pay full restitution. [See Doc. # 149.]

         III.    CONCLUSION

        In light of the foregoing, Defendant’s ex parte application for early termination of his supervised
release is respectfully DENIED.

IT IS SO ORDERED.




        1
          The Government suggests that Defendant’s employment may be “doubtful” given his employer’s apparent
checkered past. [Doc. # 212 at 3.] This employer was also Defendant’s primary surety when this Court vacated the
Magistrate Judge’s bail order and determined that Defendant should be detained before trial. [See Doc. ## 23, 42.] The
Court need not resolve the accuracy of the Government’s characterization of Defendant’s employment status here, because
even assuming Defendant’s employment is perfectly legitimate, it would not warrant early termination of supervised release.

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